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                              United States District Court
                              Eastern District of Michigan
                                   Southern Division

 United States of America,

         Plaintiff,
                                                      Criminal No. 15-20283
 v.
                                                      Honorable George Caram Steeh

 D-1 Boris Zigmond,

         Defendant.



                          Preliminary Order of Forfeiture


      The court having considered the Application for Entry of Preliminary Order of

 Forfeiture (R. 245), the Defendant’s Objections to the Government’s Application

 (R. 255), the Reply of the United States pertaining to Defendant’s Objections

 (R. 262), the Sentencing Memorandum submitted by the United States (R. 314),

 the Sentencing Memorandum submitted by the Defendant (R. 317), and the

 evidence presented during a Sentencing Hearing held on April 10, 2018,

 ORDERS the following:

       1. The United States established by a preponderance of the evidence that the

          Defendant obtained $1,844,000 as a result of his supervision of a scheme

          to distribute controlled substances in violation of Title 18, United States
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        Code, Sections 841 and 846. In reaching its decision, the Court adopts the

        formula submitted by the United States that the Defendant admitted during

        his plea colloquy on August 3, 2017, that he was responsible for the

        medically unnecessary distribution of 332,000 dosage units of oxycodone,

        a Schedule II Controlled Substance. (R. Plea Hrg. Tr. Pg.ID 1709).

     2. The Court further finds that the Defendant admitted during his plea

        colloquy that he obtained $500 for each patient appointment in which

        individuals would receive a prescription for 90 pills of the oxycodone.

     3. The Court, therefore, ORDERS the imposition of a forfeiture judgment in

        the amount of $1,844,000 against the Defendant pursuant to Title 21,

        United States Code, Section 853(a) and 853(p). In reaching its finding, the

        Court further concludes, that $1,844,000 cannot be located upon the

        exercise of due diligence by the United States.

     4. The Court further finds that the Defendant admitted during his plea

        colloquy that $37,400 in United States Currency seized from a safe deposit

        box and $340,000 in United States Currency constituted property involved

        in money laundering. The Court, therefore, ORDERS the forfeiture to the

        United States the above-mentioned assets as property involved in money

        laundering pursuant to Title 18, United States Code, Section 982(a).

     5. Further, the Court finds that the Defendant failed to rebut the


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     presumption pursuant to Title 21, United States Code, Section 853(d) that the

        following property is subject to forfeiture because the United States

        established by a preponderance of the evidence that: 1) such property was

        acquired by such person during the period of the violation of the

        Controlled Substances Act or within a reasonable time after such period;

        and 2) there was likely no source for such property other than the violation

        of the Controlled Substances Act for which the Defendant was convicted:

      a)    One Hundred Thousand Two Hundred Six Dollars and Fifteen Cents

            ($100,206.15) in U.S. Currency seized from Comerica Bank Account

            No. 9200053941 on or about March 24, 2015;

      b)    One Hundred Thousand Three Hundred Thirty Four Dollars and Sixty

            Three Cents ($100,334.63) in U.S. Currency seized from PNC Bank

            Account No. 1205646651 on or about March 23, 2015;

      c)    One Hundred Thousand Four Hundred Eighty Seven Dollars and

            Ninety One Cents ($100,487.91) seized from Desjardins Bank

            Account No. 14047583 on or about March 23, 2015;

      d)    One Hundred Thousand Four Hundred Seventy Eight Dollars

            ($100,478.00) in U.S. Currency seized from Transcapital Bank

            Account No. 50250434 on or about March 23, 2015;




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      e)     Sixty Nine Thousand Six Hundred Fifty Dollars ($69,650.00) in U.S.

            Currency seized from SunTrust Bank Account No. 1000108297085

            on or about March 25, 2015;

      f)    One Hundred Thousand One Hundred Twenty One Dollars and Nine

            Cents ($100,121.09) in U.S. Currency seized from Banking and Trust

            Company Account No. 0000446191624 on or about March 25, 2015;

      g)    Ninety Four Thousand Seven Hundred Fifty Dollars ($94,750.00) in

            U.S. Currency seized from City National Bank of Florida Account

            No. 0708007623 on or about March 25, 2015;

      h)    Three Thousand Five Hundred Twenty Four Dollars and Forty Three

            Cents ($3,524.43) in U.S. Currency seized from Bank of America

            Account No. 375000415210 on or about April 29, 2015;

      i)    Sixty Two Thousand Three Hundred Fifty Three Dollars and Twenty

            Six Cents ($62,353.26) in U.S. Currency seized from Bank of

            America Account No. 483005064558 on or about April 29, 2015;

      j)    Fifty Three Thousand Five Hundred Nine Dollars and Forty Cents

            ($53,509.40) in U.S. Currency seized from Bank of America Account

            No. 898042413511 on or about April 29, 2015.




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     IT IS HEREBY ORDERED that any and all interest of Defendant Boris

 Zigmond, D.C. in the assets enumerated in paragraphs 4 and 5, IS HEREBY

 FORFEITED to the United States for disposition in accordance with law.

     IT IS FURTHER ORDERED that pursuant to 21 U.S.C. § 853(n), Fed. R.

 Crim. P 32.2(b)(6) and Rule G(6) of the Supplemental Rules for Admiralty or

 Maritime Claims and Asset Forfeiture Actions, the United States shall publish

 notice of this Preliminary Order of Forfeiture utilizing the internet site,

 www.forfeiture.gov, for at least thirty (30) consecutive days. The government shall

 also send notice to any person who appears to be a potential claimant with standing

 to contest the forfeiture in the ancillary proceeding. The notice shall direct that any

 person asserting a legal interest in the subject property, other than Defendant Boris

 Zigmond, may file a petition with the Court within thirty (30) days of the final

 publication of notice or of receipt of actual notice, whichever is earlier. The

 petition shall be for a hearing before the Court alone, without a jury and in

 accordance with 21 U.S.C. § 853(n), to adjudicate the validity of the petitioner’s

 alleged interest in the subject property. The petition must be signed by the

 petitioner under penalty of perjury and must set forth the nature and extent of the

 petitioner’s alleged right, title or interest in the subject property, the time and

 circumstances of the petitioner’s acquisition of the right, title, or interest in the




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 subject property, any additional facts supporting the petitioner’s claim, and the

 relief sought.

        IT IS FURTHER ORDERED that following the Court’s disposition of

 any petitions for ancillary hearing, and upon proof of publication and notice to

 any persons known to have alleged an interest in the subject property, the United

 States shall have clear title to the property and shall be authorized through the

 United States Department of the Treasury, Internal Revenue Service-Criminal

 Investigations, and/or the United States Marshals Service to dispose of the

 forfeited assets as prescribed by law.

        IT IS FURTHER ORDERED that upon resolution of any third party

 petitions filed pursuant to Title 21, United States Code, Section 853(n), any of the

 assets enumerated in paragraphs 4 and 5 of this order shall be credited against the

 forfeiture judgment in the amount of $1,844,000 (U.S.).

        IT IS FURTHER ORDERED that pursuant to Fed. R. Crim. P.

 32.2(c)(2) this Preliminary Order of Forfeiture shall become final as to the

 Defendant upon entry and shall be made part of the sentence and included in the

 judgment. If no third party files a timely claim, this Order shall become the Final

 Order of Forfeiture as provided under Fed. R. Crim. P. 32.2(c)(2).




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        IT IS FURTHER ORDERED that the Court shall retain jurisdiction to

 enforce this Order and to amend it as necessary pursuant to Fed. R. Crim. P.

 32.2(e)(2)(A).

 IT IS SO ORDERED.



                                      s/George Caram Steeh
                                      Hon. George Caram Steeh
                                      United States District Judge

 Dated: April 12, 2018




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